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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 08-33546
         BRIGETTE L RAMEY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 12/09/2008.

         2) The plan was confirmed on 02/06/2009.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 01/22/2014.

         6) Number of months from filing to last payment: 61.

         7) Number of months case was pending: 64.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $2,870.00.

         10) Amount of unsecured claims discharged without payment: $28,541.84.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor            $21,167.00
        Less amount refunded to debtor                         $227.00

 NET RECEIPTS:                                                                                $20,940.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $2,800.00
     Court Costs                                                            $0.00
     Trustee Expenses & Compensation                                      $969.70
     Other                                                                  $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                              $3,769.70

 Attorney fees paid and disclosed by debtor:               $700.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim            Claim       Principal       Int.
 Name                              Class   Scheduled      Asserted         Allowed        Paid         Paid
 ADVENTIST BOLINGBROOK MED CT Unsecured          695.00           NA              NA            0.00        0.00
 APPROVED AUTO SALES & FIN     Unsecured      2,585.00            NA              NA            0.00        0.00
 B&L MARKETING                 Unsecured         430.00           NA              NA            0.00        0.00
 BARONS CREDITORS SERVICE CORP Unsecured         125.00           NA              NA            0.00        0.00
 BOLINGBROOK WOMENS CLINIC     Unsecured         645.00           NA              NA            0.00        0.00
 CHASE BANK USA                Unsecured         569.00           NA              NA            0.00        0.00
 COMED LEGAL REVENUE RECOVERY Unsecured          910.00      1,149.77        1,149.77        260.34         0.00
 DUPAGE MEDICAL GROUP          Unsecured         715.00           NA              NA            0.00        0.00
 FOCUS RECEIVABLE MGMT         Unsecured         315.00           NA              NA            0.00        0.00
 GLOBAL PAYMENTS               Unsecured      3,025.00           0.00            0.00           0.00        0.00
 GREATER SUBURBAN ACCEPTANCE Unsecured        7,485.00            NA              NA            0.00        0.00
 HARRIS & HARRIS LTD           Unsecured         450.00           NA              NA            0.00        0.00
 HEIGHTS FINANCE               Unsecured      2,220.00       1,357.48        1,357.48        307.37         0.00
 ILLINOIS STUDENT ASSIST COMM  Unsecured      9,000.00       9,184.00        9,184.00      2,079.54         0.00
 IMAGINE                       Unsecured         875.00           NA              NA            0.00        0.00
 LINCOLN TECH                  Unsecured      2,300.00            NA              NA            0.00        0.00
 MEDICAL BUSINESS BUREAU       Unsecured         165.00           NA              NA            0.00        0.00
 MERCHANTS CREDIT GUIDE        Unsecured         740.00           NA              NA            0.00        0.00
 MIDLAND FUNDING LLC           Unsecured         650.00        676.70          676.70        153.23         0.00
 MUNICIPAL COLLECTIONS OF AMER Unsecured         500.00      1,000.00        1,000.00        133.63         0.00
 NEW JERSEY HESAA              Unsecured         962.00      1,179.57        1,179.57        267.09         0.00
 NICOR GAS                     Unsecured      1,125.00            NA              NA            0.00        0.00
 SANTANDER CONSUMER USA        Secured       11,642.00     11,641.86        11,641.86     11,641.86    2,272.22
 SFC CENTRAL BANKRUPTCY        Unsecured            NA         243.00          243.00          55.02        0.00
 SGQ PROCESSING                Unsecured         200.00           NA              NA            0.00        0.00
 STATE COLLECTION SERVICE      Unsecured          53.00           NA              NA            0.00        0.00



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 Scheduled Creditors:
 Creditor                                    Claim         Claim        Claim         Principal       Int.
 Name                             Class    Scheduled      Asserted     Allowed          Paid          Paid
 SUMMIT                        Unsecured         430.00           NA             NA           0.00        0.00
 TOTAL LENDING INC             Unsecured         510.00           NA             NA           0.00        0.00
 UNITED COLLECTION BUREAU      Unsecured         455.00           NA             NA           0.00        0.00
 US BANK                       Unsecured         760.00           NA             NA           0.00        0.00
 WASHINGTON MUTUAL CARD SVCS   Unsecured      1,085.00            NA             NA           0.00        0.00
 WOODFOREST NATIONAL BANK      Unsecured      1,400.00            NA             NA           0.00        0.00


 Summary of Disbursements to Creditors:
                                                            Claim          Principal                 Interest
                                                          Allowed              Paid                     Paid
 Secured Payments:
       Mortgage Ongoing                                    $0.00             $0.00                   $0.00
       Mortgage Arrearage                                  $0.00             $0.00                   $0.00
       Debt Secured by Vehicle                        $11,641.86        $11,641.86               $2,272.22
       All Other Secured                                   $0.00             $0.00                   $0.00
 TOTAL SECURED:                                       $11,641.86        $11,641.86               $2,272.22

 Priority Unsecured Payments:
        Domestic Support Arrearage                          $0.00                 $0.00               $0.00
        Domestic Support Ongoing                            $0.00                 $0.00               $0.00
        All Other Priority                                  $0.00                 $0.00               $0.00
 TOTAL PRIORITY:                                            $0.00                 $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                          $14,790.52          $3,256.22                   $0.00


 Disbursements:

        Expenses of Administration                          $3,769.70
        Disbursements to Creditors                         $17,170.30

 TOTAL DISBURSEMENTS :                                                                      $20,940.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/03/2014                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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